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 1                          UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF CALIFORNIA
 3

 4   Samantha Hoffma,                             Case No. 2:23-cv-00690-DAD-DMC

 5                          Plaintiff,            [Hon. Dale A. Drozd, USDC Judge]
 6          v.                                    [Hon. Dennis M. Cota, US Mag. Judge]

 7   Bank of America, N.A.; Synchrony             ORDER GRANTING STIPULATION
 8   Bank; Equifax Information Services,          TO EXTEND FACT DISCOVERY
     LLC; Experian Information                    DEADLINE
 9   Solutions, Inc.; and Transunion,
10   LLC,                                         Comp. Filed: April 13, 2023

11                          Defendants.
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14         After consideration of the pleadings as well as all other matters presented to the
15
     Court, and good cause having been shown, the Court rules as follows:
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17         The Court GRANTS Plaintiff Samantha Hoffma and Defendant Bank of
18   America, N.A.,’s Stipulation, which is signed by all counsel, to Extend Fact
19
     Discovery Deadline as set forth in the Court’s Scheduling Order dated October 24,
20

21   2023 (ECF No. 38). The Fact Discovery Deadline of June 7, 2024, is hereby extended
22
     to August 7, 2024
23
           IT IS SO ORDERED.
24

25 Dated: June 14, 2024

26                                                   ____________________________________
                                                     DENNIS M. COTA
27                                                   UNITED STATES MAGISTRATE JUDGE
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                 [Proposed] Order Granting Stipulation To Extend Fact Discovery Deadline
